                Case 18-02147-hb                  Doc 15             Filed 07/20/18 Entered 07/20/18 09:36:41 Desc Main
                                                                     Document      Page 1 of 8
                                                                                                       Check if this is a modified
Fill in this information to identify your case:                                                                             plan, and list below the
                                                                                                                            sections of the plan that have
                                                                                                                            been changed.
Debtor 1          Nicholas                    Martin                     Powell
                    First Name                Middle Name                Last Name
                                                                                                                            Pre-confirmation modification

Debtor 2         Brittney                     Ann                        Powell                                             Post-confirmation modification
(Spouse, if filing) First Name                Middle Name                Last Name
                                                                                                                        1.3, 3.1(a), 3.1(e) & 8.1
                                                                                                                        __________________________
United States Bankruptcy Court for the: District of South Carolina
                                                                                                                        __________________________

Case number         18-02147/hb
(If known)




 District of South Carolina
 Chapter 13 Plan                                                                                                                                              12/17


   Part 1:         Notices

 To Debtors:            This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                        indicate that the option is appropriate in your circumstances. Plans that do not comply with the Bankruptcy Code, the
                        Federal Rules of Bankruptcy Procedure, this Court’s local rules, and judicial rulings may not be confirmable.

                        In the following notice to creditors, you must check each box that applies.

 To Creditors:          Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                        an attorney, you may wish to consult one. Failure to object may constitute an implied acceptance of and consent to the relief
                        requested in this document.
                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                        confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
                        Court. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy
                        Rule 3015. In addition, pursuant to Federal Rule of Bankruptcy Procedure 3002, you must file a timely proof of claim in order to
                        be paid under any plan. Confirmation of this plan does not bar a party in interest from objecting to a claim.
                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or not the plan
                        includes each of the following items. If an item is checked as “Not Included” or if both boxes are checked, the provision will
                        be ineffective if set out later in the plan.


      1.1       A limit on the amount of a secured claim, set out in Section 3.2, which may result in a partial                  Included        Not included
                payment or no payment at all to the secured creditor

      1.2       Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set out in                   Included        Not included
                Section 3.4

      1.3       Nonstandard provisions, set out in Part 8                                                                        Included        Not included

      1.4       Conduit Mortgage Payments: ongoing mortgage payments made by the trustee through plan, set                       Included        Not included
                out in Section 3.1(c) and in Part 8
           Case 18-02147-hb                 Doc 15        Filed 07/20/18 Entered 07/20/18 09:36:41                                Desc Main
                                                          Document      Page 2 of 8
Debtor Nicholas Martin Powell & Brittney Ann Powell                                                                       Case Number 18-02147/hb


 Part 2:      Plan Payments and Length of Plan



2.1 The debtor submits to the supervision and control of the trustee all or such portion of future earnings or other future income as is necessary for the
     execution of the plan.
     Unless all allowed claims (other than long-term claims) are fully paid pursuant to the plan, the debtor will make regular payments to the trustee as
     follows:


      $ 946.00                per month      for   60     months


The debtor and trustee may stipulate to a higher payment in order to provide adequate funding of the plan without the necessity of a modification to the
plan. The stipulation is effective upon filing with the Court.
Additional monthly payments will be made to the extent necessary to make the payments to creditors specified in this plan.


2.2 Regular payments to the trustee will be made from future income in the following manner:

     Check all that apply.
          The debtor will make payments pursuant to a payroll deduction order.
          The debtor will make payments directly to the trustee.
          Other (specify method of payment):____________________________.


2.3 Income tax refunds.

     Check one.
          The debtor will retain any income tax refunds received during the plan term.
          The debtor will treat income tax refunds as follows:
            ____________________________________________________________________________________________________
           _____________________________________________________________________________________________________

2.4 Additional payments.

     Check one.
          None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
        The debtor will make additional payment(s) to the trustee from other sources, as specified below. Describe the source, estimated
amount, and date of each anticipated payment.
        ___________________________________________________________________________________________________________

         ___________________________________________________________________________________________________________


 Part 3:      Treatment of Secured Claims


To receive a distribution from the trustee, a proof of claim, including adequate supporting documentation and filed in compliance with Official Rules
and Forms, must be filed with the Court. For purposes of plan distribution, a claim shall be treated as provided for in a confirmed plan. However, if
a claim is treated as secured in a confirmed plan and the affected creditor elects to file an unsecured claim, such claim, unless timely amended,
shall be treated as unsecured for purposes of plan distribution. Any creditor holding a claim secured by property that is removed from the protection
of the automatic stay by order, surrender, or through operation of the plan will receive no further distribution from the chapter 13 trustee on account
of any secured claim. This provision also applies to creditors who may claim an interest in, or lien on, property that is removed from the protection
of the automatic stay by another lienholder or released to another lienholder, unless the Court orders otherwise, but does not apply if the sole
reason for its application arises under 11 U.S.C. § 362(c)(3) or (c)(4). Any funds that would have otherwise been paid to a creditor, but pursuant to
these provisions will not be paid, will be distributed according to the remaining terms of the plan. Any creditor affected by these provisions and who
has filed a timely proof of claim may file an itemized proof of claim for any unsecured deficiency within a reasonable time after the removal of the
property from the protection of the automatic stay. Secured creditors that will be paid directly by the debtor may continue sending standard payment
and escrow notices, payment coupons, or inquiries about insurance, and such action will not be considered a violation of the automatic stay.



District of South Carolina                                                                                                                         Page 2
Effective December 1, 2017                                Chapter 13 Plan
           Case 18-02147-hb                 Doc 15         Filed 07/20/18 Entered 07/20/18 09:36:41                                 Desc Main
                                                           Document      Page 3 of 8
Debtor Nicholas Martin Powell & Brittney Ann Powell                                                                         Case Number 18-02147/hb

3.1 Maintenance of payments and cure or waiver of default, if any.
     Check all that apply. Only relevant sections need to be reproduced.
         None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

     3.1(a) The debtor is not in default and will maintain the current contractual installment payments on the secured claims listed below, with any
changes required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed directly by the debtor.

      Name of Creditor                     Collateral



      3.1(b) The debtor is in default and will maintain the current contractual installment payments on the secured claims listed below, with
any changes required by the applicable contract and noticed in conformity with any applicable rules. The arrearage payments will be disbursed
by the trustee, with interest, if any, at the rate stated. The trustee shall pay the arrearage as stated in the creditor’s allowed claim or as otherwise
ordered by the Court.


      Name of Creditor                     Collateral                     Estimated amount Interest rate on          Monthly plan payment on
                                                                          of arrearage       arrearage               arrearage
                                                                                             (if applicable)
      Wells Fargo Home Mortgage            1825 Shirley Road              $2000.00           ________%               $34.00
                                           Hodges, SC 29653               Includes amounts
                                                                          accrued
                                                                          through the
                                                                          April 2018 payment                            (or more)


       3.1(c) The debtor elects to make post-petition mortgage payments to the trustee for payment through the Chapter 13 Plan in accordance
with the Operating Order of the Judge assigned to this case and as provided in Section 8.1. In the event of a conflict between this document and
the Operating Order, the terms of the Operating Order control.



      3.1(d) The debtor proposes to engage in loss mitigation efforts with _________________________ according to the applicable guidelines or
procedures of the Judge assigned to this case. Refer to section 8.1 for any nonstandard provisions, if applicable.

     Insert additional claims as needed.

          3.1(e) Other. A secured claim is treated as set forth in section 8.1. This provision will be effective only if the applicable box in Section
     1.3 of this plan is checked and a treatment is provided in Section 8.1.



3.2 Request for valuation of security and modification of undersecured claims. Check one.

      None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.
          The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

       The debtor requests that the Court determine the value of the secured claims listed below. For each non-governmental secured claim listed
below, the debtor states that the value of the secured claim should be as set out in the column headed Estimated amount of secured claim. For
secured claims of governmental units, unless otherwise ordered by the Court after motion or claims objection filed after the governmental unit files
its proof of claim or after the time for filing one has expired, the value of a secured claim listed in a proof of claim filed in accordance with the
Bankruptcy Rules controls over any contrary amount listed below. For each listed claim, the value of the secured claim will be paid in full with interest
at the rate stated below.



           The portion of any allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5.1 of
this plan. If the estimated amount of a creditor’s secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its
entirety as an unsecured claim under Part 5.1 of this plan. Unless otherwise ordered by the Court, the amount of the creditor’s total claim listed on
the proof of claim controls over any contrary amounts listed in this paragraph.


          Unless 11 U.S.C. § 1325(a)(5)(A) or (C) applies, holders of secured claims shall retain liens to the extent provided by section
1325(a)(5)(B)(i). Secured creditors paid the full secured claim provided for by this plan shall satisfy any liens within a reasonable time.



District of South Carolina                                                                                                                           Page 3
Effective December 1, 2017                                Chapter 13 Plan
            Case 18-02147-hb                Doc 15             Filed 07/20/18 Entered 07/20/18 09:36:41                            Desc Main
                                                               Document      Page 4 of 8
Debtor Nicholas Martin Powell & Brittney Ann Powell                                                                        Case Number 18-02147/hb

 Name of              Estimated           Collateral            Value of         Amount of           Estimated          Interest rate       Estimated
 creditor             amount of                                 collateral       claims senior       amount of                              monthly
                      creditor’s total                                           to creditor’s       secured claim                          payment to
                      claim                                                      claim                                                      creditor
                                                                                                                                            (disbursed by
                                                                                                                                            the trustee)

 US Bank              $38,910.00          2015 Dodge            $35,100.00       $0.00               $35,100.00         6.0%                $753.00
                                          Ram 3500                                                                                          (or more)


3.3 Other secured claims excluded from 11 U.S.C. § 506 and not otherwise addressed herein.
     Check one.
           None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

           The claims listed below are being paid in full without valuation or lien avoidance.
These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed either by the trustee or directly by
the debtor, as specified below. Holders of secured claims shall retain liens to the extent provided by 11 U.S.C. § 1325(a)(5)(B)(i). Secured creditors paid
the full secured claim provided for by this plan shall satisfy any liens within a reasonable time.


 Name of creditor                  Collateral                       Estimated amount of           Interest rate                  Estimated monthly
                                                                    claim                                                        payment to creditor
 ______________________            _____________________            $_________________            ___________%                   $________________
                                                                                                                                 (or more)

                                                                                                                                 Disbursed by
                                                                                                                                  Trustee
                                                                                                                                  Debtor
Insert additional claims as needed.


3.4 Lien avoidance.
     Check one.
         None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.
     The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

       The judicial liens or nonpossessory, nonpurchase money security interests securing the claims listed below impair exemptions to which
the debtor would have been entitled under 11 U.S.C. § 522(b). Unless otherwise ordered by the Court, a judicial lien or security interest securing
a claim listed below will be avoided to the extent that it impairs such exemptions upon entry of the order confirming the plan. The amount of the
judicial lien or security interest that is avoided will be treated as an unsecured claim in Part 5.1 to the extent allowed. The amount, if any, of the
judicial lien or security interest that is not avoided will be paid in full as a secured claim under the plan. See 11 U.S.C. § 522(f) and Bankruptcy
Rule 4003(d). If more than one lien is to be avoided, provide the information separately for each lien.

            Choose the appropriate form for lien avoidance.


 Name of creditor and           Estimated              Total of all          Applicable           Value of              Amount of          Amount of lien
 description of property        amount of lien         senior/unavoidable    Exemption and        debtor’s interest     lien not           avoided
 securing lien                                         liens                 Code Section         in property           avoided (to be
                                                                                                                        paid in 3.2
                                                                                                                        above)
 Credit Central – HHG           $885.00                $0.00                 $500.00              $500.00               $0.00              100%
                                                                             15-41-30(A)(3)
 OneMain – HHG                  $5,561.00              $0.00                 $500.00              $500.00               $0.00              100%
                                                                             15-41-30(A)(3)
 Quick Credit – HHG             $750.00                $0.00                 $500.00              $500.00               $0.00              100%
                                                                             15-41-30(A)(3)
 Quick Credit – HHG             $387.00                $0.00                 $500.00              $500.00               $0.00              100%
                                                                             15-41-30(A)(3)
 Regional Finance – HHG         $2,583.72              $0.00                 $500.00              $500.00               $0.00              100%
                                                                             15-41-30(A)(3)
 Republic Finance – HHG         $3,836.00              $0.00                 $500.00              $500.00               $0.00              100%
                                                                             15-41-30(A)(3)
District of South Carolina                                                                                                                          Page 4
Effective December 1, 2017                                     Chapter 13 Plan
           Case 18-02147-hb                  Doc 15          Filed 07/20/18 Entered 07/20/18 09:36:41                                 Desc Main
                                                             Document      Page 5 of 8
Debtor Nicholas Martin Powell & Brittney Ann Powell                                                                           Case Number 18-02147/hb

 Republic Finance – HHG         $1,233.00            $0.00                    $500.00               $500.00                $0.00               100%
                                                                              15-41-30(A)(3)


           Use this form for avoidance of liens on co-owned property only.


 Name of creditor       Total equity (value      Debtor’s equity      Applicable           Non-exempt         Estimated         Amount of         Amount of
 and description        of debtor’s              (Total equity        Exemption            equity             lien              lien not          lien avoided
 of property            property less            multiplied by        and Code             (Debtor’s                            avoided (to
 securing lien          senior/unavoidable       debtor’s             Section              equity less                          be paid in
                        liens)                   proportional                              exemption)                           3.2 above)
                                                 interest in
                                                 property)


 ______________         $___________             $__________          ____________         $___________       $_________        $__________       $__________


Insert additional claims as needed.



3.5 Surrender of collateral.
     Check one.
      None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.
      The debtor elects to surrender the collateral that secures the claim of the creditor listed below. The debtor requests that upon confirmation of this
plan the stay under 11 U.S.C. § 362(a) be terminated as to the collateral only and that the stay under § 1301 be terminated in all respects. A copy of this
plan must be served on all co-debtors. Any creditor who has filed a timely proof of claim may file an amended proof of claim itemizing the deficiency
resulting from the disposition of the collateral within a reasonable time after the surrender of the property. Any such amended claim, if allowed, will be
treated in Part 5.1 below.

      Name of creditor                      Collateral
      ___________________                   ______________________


     Insert additional claims as needed.


 Part 4:        Treatment of Fees and Priority Claims

4.1 General

The debtor shall pay all post-petition priority obligations, including but not limited to taxes and post-petition domestic support, and pay regular payments
on assumed executory contracts or leases, directly to the holder of the claim as the obligations come due, unless otherwise ordered by the Court. Trustee’s
fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in full without postpetition interest.
4.2 Trustee’s fees

Trustee’s fees are governed by statute and may change during the course of the case.

4.3 Attorney’s fees

           a.    The debtor and the debtor’s attorney have agreed to an attorney’s fee for the services identified in the Rule 2016(b) disclosure statement
                 filed in this case. Fees entitled to be paid through the plan and any supplemental fees as approved by the Court shall be disbursed by
                 the trustee as follows: Following confirmation of the plan and unless the Court orders otherwise, the trustee shall disburse a dollar
                 amount consistent with the Judge’s guidelines to the attorney from the initial disbursement. Thereafter, the balance of the attorney’s
                 compensation as allowed by the Court shall be paid, to the extent then due, with all funds remaining each month after payment of trustee
                 fees, allowed secured claims and pre-petition arrearages on domestic support obligations. In instances where an attorney assumes
                 representation in a pending pro se case and a plan is confirmed, a separate order may be entered by the Court, without further notice,
                 which allows for the payment of a portion of the attorney’s fees in advance of payments to creditors.
           b.    If, as an alternative to the above treatment, the debtor’s attorney has received a retainer and cost advance and agreed to file fee
                 applications for compensation and expenses in this case pursuant to 11 U.S.C. § 330, the retainer and cost advance shall be held in
                 trust until fees and expense reimbursements are approved by the Court. Prior to the filing of this case, the attorney has received $______
                 and for plan confirmation purposes only, the fees and expenses of counsel are estimated at $_______ or less.

4.4 Priority claims other than attorney’s fees and those treated in § 4.5.
     Check one.

District of South Carolina                                                                                                                              Page 5
Effective December 1, 2017                                   Chapter 13 Plan
            Case 18-02147-hb                Doc 15         Filed 07/20/18 Entered 07/20/18 09:36:41                                 Desc Main
                                                           Document      Page 6 of 8
Debtor Nicholas Martin Powell & Brittney Ann Powell                                                                         Case Number 18-02147/hb

      The debtor is unaware of any priority claims at this time. If funds are available, the trustee is authorized to pay on any allowed priority claim
without further amendment of the plan.



      Domestic Support Claims. 11 U.S.C. § 507(a)(1):
            a.   Pre-petition arrearages. The trustee shall pay the pre-petition domestic support obligation arrearage to (name of DSO recipient), at the
                 rate of $_________ or more per month until the balance, without interest, is paid in full. Add additional creditors as needed.
            b.   The debtor shall pay all post-petition domestic support obligations as defined in 11 U.S.C. § 101(14A) on a timely basis directly to the
                 creditor.
            c.   Any party entitled to collect child support or alimony under applicable non-bankruptcy law may collect those obligations from property that
                 is not property of the estate or with respect to the withholding of income that is property of the estate or property of the debtor for payment
                 of a domestic support obligation under a judicial or administrative order or a statute.

       Other Priority debt. The trustee shall pay all remaining pre-petition 11 U.S.C. § 507 priority claims on a pro rata basis. If funds are available, the
trustee is authorized to pay on any allowed priority claim without further amendment of the plan.

4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
     Check one.
      None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.
     The allowed priority claims listed below are based on a domestic support obligation that has been assigned to or is owed to a governmental unit
and will be paid less than the full amount of the claim under 11 U.S.C. § 1322(a)(4). This plan provision requires that payments in § 2.1 be for a term of
60 months; see 11 U.S.C. § 1322(a)(4).


     Name of creditor                                                                Amount of claim to be paid
     _____________________________________________                                   $ ____________________________
                                                                                              Disbursed by
                                                                                               Trustee
                                                                                               Debtor

Insert additional claims as needed.


  Part 5:        Treatment of Nonpriority Unsecured Claims



5.1 Nonpriority unsecured claims not separately classified. Check one.

     Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata by the trustee to the extent that funds are
     available after payment of all other allowed claims.

      The debtor estimates payments of less than 100% of claims.
      The debtor proposes payment of 100% of claims.
      The debtor proposes payment of 100% of claims plus interest at the rate of ___%.


5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

      None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.
     The debtor will maintain the contractual installment payments and cure, through the trustee, any prepetition default in payments on the
unsecured claims listed below.

     Name of creditor                      Current installment payment               Estimated amount of arrearage             Monthly payment
                                           (paid by the debtor)                      through month of filing or                on arrearage to be
                                                                                     conversion                                disbursed by the
                                                                                                                               trustee

     __________________________            $ ____________________                    $ ____________________                    $________________

                                                                                                                               (or more)
     Insert additional claims as needed.

District of South Carolina                                                                                                                           Page 6
Effective December 1, 2017                                Chapter 13 Plan
           Case 18-02147-hb                Doc 15         Filed 07/20/18 Entered 07/20/18 09:36:41                                Desc Main
                                                          Document      Page 7 of 8
Debtor Nicholas Martin Powell & Brittney Ann Powell                                                                       Case Number 18-02147/hb

5.3 Other separately classified nonpriority unsecured claims. Check one.

      None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.


      The nonpriority unsecured allowed claims listed below are separately classified and will be treated as follows:

 Name of creditor                      Total amount to be paid on                    Interest rate
                                       the claim                                     (if applicable)

 ___________________________           $ _________________                           ________%




Specify the amount and frequency of payments and whether disbursed by the trustee or the debtor. ________________________________________


Provide a brief statement of the basis for separate classification and treatment. _________________________________________________________


________________________________________________________________________________________________________________________



Insert additional claims as needed.

      Other. An unsecured claim is treated as set forth in section 8.1. This provision will be effective only if the applicable box in Section 1.3 of this
     plan is checked and a treatment is provided in Section 8.1.



 Part 6:      Executory Contracts and Unexpired Leases




6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
     contracts and unexpired leases are rejected. Check one.

      None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.
       Assumed items. Current installment payments will be disbursed directly by the debtor, as specified below, subject to any contrary court order or
rule. Prepetition arrearage payments will be disbursed by the trustee unless otherwise ordered.


 Name of creditor                   Description of leased              Current installment        Estimated amount of        Estimated monthly
                                    property or executory              payment                    arrearage through          payment
                                    contract                                                      month of filing or         on arrearage to be
                                                                                                  conversion                 disbursed by the trustee
 ________________________           _________________________          $___________               $_____________             $____________________


                                                                                                                              (or more)
Insert additional claims as needed.

 Part 7:      Vesting of Property of the Estate




7.1 Property of the estate will vest in the debtor as stated below:
     Check the applicable box:
           Upon confirmation of the plan, property of the estate will remain property of the estate, but possession of property of the estate shall remain
           with the debtor. The chapter 13 trustee shall have no responsibility regarding the use or maintenance of property of the estate. The debtor is
           responsible for protecting the estate from any liability resulting from operation of a business by the debtor. Nothing in the plan is intended to
           waive or affect adversely any rights of the debtor, the trustee, or party with respect to any causes of action owned by the debtor.
District of South Carolina                                                                                                                         Page 7
Effective December 1, 2017                               Chapter 13 Plan
           Case 18-02147-hb                 Doc 15         Filed 07/20/18 Entered 07/20/18 09:36:41                                Desc Main
                                                           Document      Page 8 of 8
Debtor Nicholas Martin Powell & Brittney Ann Powell                                                                        Case Number 18-02147/hb

           Other. The debtor is proposing a non-standard provision for vesting, which is set forth in section 8.1. This provision will be effective only if
           the applicable box in Section 1.3 of this plan is checked and a proposal for vesting is provided in Section 8.1.




 Part 8:      Nonstandard Plan Provisions


8.1 Check “None” or List Nonstandard Plan Provisions

      None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.
Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in this
form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.
The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.
American Honda Finance – 2012 Honda Foreman 4-Wheeler – Debtor’s mother will continue to pay outside the plan

Sharonview – 2016 Forrest River XLR – Debtor’s mother will continue to pay outside the plan




 Part 9:      Signature(s)




9.1 Signatures of the debtor and the debtor’s attorney

    The debtor and the attorney for the debtor, if any, must sign below.
  /s/ Nicholas Martin Powell                                  /s/ Brittney Ann Powell
    Signature of Debtor 1                                          Signature of Debtor 2

Executed on   07/20/2018                  Executed on 07/20/2018
              MM / DD / YYYY                           MM /DD / YYYY




  /s/ Alecia T. Compton                      5847               Date     07/20/2018
     Signature of Attorney for the debtor     DCID #                      MM/DD/ YYYY



By filing this document, the debtor, if not represented by an attorney, or the debtor and the attorney for the debtor certify(ies) that this
Chapter 13 plan contains no nonstandard provision other than those set out in Part 8.




District of South Carolina                                                                                                                          Page 8
Effective December 1, 2017                                Chapter 13 Plan
